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                                                                     Referral Form

 UMMD Referral - No InterQual Criteria Available                                                         YES




POLLARD, CHARLES - 1470566MR / authorization #00930647 as of Sep 28, 2021 7:46 AM CST / page 3 of 3   Pollard MR - 000644
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                                                                     Referral Form

 Referral
 Reference #: 00935772                  Status: COMPLETE                      Created By: lmcnamee           Asigned To


 Patient
 Patient: POLLARD, CHARLES                                     Inmate #: 1470566MR            DOB:                   Sex: M


 Facility
 Client: MARYLAND DPSCS                         Facility: JESSUP CORRECTIONAL INSTITUTN                              Cost Center: 91211


 Other Coverage
 Corizon Responsible: Y                 Other Coverage: N                     Other Coverage Type:           Effective Date:
 Comments


 Medical Categories
 Medical Classification: Outpatient Procedure                                 Subcategory: Musculoskeletal


 Reason for Referral
 Operative repair of lumbar hernia


 Diagnosis
 M51.06          Intervertebral disc disorders with myelopathy, lumbar region                                        PRINCIPAL


 Authorizaiton Details
 Referred From: ALENDA, BERNARD                                               Referred To:
 # of Appts: 1              Urgent: N                                         Urgent Reason:


 Authorization Services
 Service Category                                                                           Seen Date     Approval            Units
 CPT; SURGERY; DIGESTIVE SYSTEM                                                             5/19/2021     Y                   1


 Appointments & Verification
 Scheduled Date            Time                 Seen Date                     Cancel/Reschedule Reason
 5/19/2021                 8:30 AM              5/19/2021


 Clinical Notes
 CORIZONHEALTH\RHesemann - Apr 7, 2021 5:35 PM
 Approval to site
 CORIZONHEALTH\MBartels - Apr 7, 2021 4:56 PM
 Approve
 CORIZONHEALTH\mdubrawsky - Apr 7, 2021 3:23 PM
 Request for operative repair of lumbar hernia reviewed.
 No IQ criteria specific to request.
 Submitted to UMMD for review.




POLLARD, CHARLES - 1470566MR / authorization #00935772 as of Sep 28, 2021 7:45 AM CST / page 1 of 3     Pollard MR - 000645
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                                                                     Referral Form

 lmcnamee - Apr 7, 2021 9:06 AM
 Patient: CHARLES POLLARD ID#: 241320 DOB:

 Off-site Reference #:
 Routine Date of Request: 04/06/2021 2:14 PM
 3rd Party Insurance: (VA, Workmen's Comp, Federal, Interstate Compact, etc.):
 Maryland DPSCS

 For security reasons, inmates must NOT be informed of date, time or location of proposed treatment or possible hospitalization.
 Authorization and payment is provided ONLY for requested procedures or treatments of life-threatening conditions. Prior
 review/discussion with Medical Director is required for additional treatment, procedures and hospitalizations.

 __________________________________________________________________________________________

 Procedure/Test Requested: Operative repair of lumbar hernia

 Specialty Service Requested: Surgery

 Provider: UMMC

 Presumed Diagnosis:
 Hernia, site NEC w/obst w/o gngr 552.8

 Signs & Symptoms: Date of Onset:
 61 y.o. AAM inmate was at UMMC on 4/5/21 for evaluation of symptomatic recurrent lumbar hernia by Dr. Stephen Kavic. In 2010
 he was diagnosed with lumbar hernia and had repair of lumbar hernia at Bon Secours Hospital. In 2013 he started having severe
 back pain in the lower back and developed a swelling > 5cm on the right border of the lumbar spine over the old surgical scar.
 Dr. Kavic recommends operative repair, which can be performed in open fashion.
 Please schedule procedure as soon as it is feasible.

 Site Medical Provider: Bernard Alenda, NP 04/06/2021

 Copy this form and paste in an email and send form to designated reviewer

 ________________________________________________________________________________________

 (For UM use only)

 Criteria Source: M & R            Interqual         Other
 Criteria met: Yes      No             Deferred



 Reviewer comments:



 Recommendation for visit appointment:


 # Visits:
 ________________________________________________________________________________________

 UM Review #:
 Reviewer Name:
 Date Reviewed:


 Note: Notify physician or midlevel practitioner immediately if unable to obtain appointment within 4 weeks. If service is not completed
 within 4 weeks, have patient re-evaluated by physician or midlevel practitioner to determine if service is still necessary and
 appropriate.


 Interqual Notes
 CORIZONHEALTH\mdubrawsky - Apr 7, 2021 3:23 PM
 No IQ criteria specific to request.


 Documents
 File                           Description                                   Uploaded By


POLLARD, CHARLES - 1470566MR / authorization #00935772 as of Sep 28, 2021 7:45 AM CST / page 2 of 3   Pollard MR - 000646
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                                                                     Referral Form

 Pollard,Charles UMMS
 General Surgery                Charles Pollard                               CORIZONHEALTH\lmcnamee on Apr 7, 2021 9:08 AM
 4.5.21.pdf


 Attributes
 UMMD Referral - No InterQual Criteria Available                                                         YES




POLLARD, CHARLES - 1470566MR / authorization #00935772 as of Sep 28, 2021 7:45 AM CST / page 3 of 3   Pollard MR - 000647
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                                                                     Referral Form

 Referral
 Reference #: 00946945                  Status: COMPLETE                      Created By: lmcnamee            Asigned To


 Patient
 Patient: POLLARD, CHARLES                                     Inmate #: 1470566MR            DOB:                   Sex: M


 Facility
 Client: MARYLAND DPSCS                         Facility: JESSUP CORRECTIONAL INSTITUTN                              Cost Center: 91211


 Other Coverage
 Corizon Responsible: Y                 Other Coverage: N                     Other Coverage Type:            Effective Date:
 Comments


 Medical Categories
 Medical Classification: Office Visit                                         Subcategory: General Surgery


 Reason for Referral
 POST OP visit


 Diagnosis
 M51.06          Intervertebral disc disorders with myelopathy, lumbar region                                        PRINCIPAL


 Authorizaiton Details
 Referred From: KIABAYAN, HAMID                                               Referred To:
 # of Appts: 1              Urgent: N                                         Urgent Reason:


 Authorization Services
 Service Category                                                                           Seen Date     Approval            Units
 CPT; EVALUATION AND MANAGEMENT; OFFICE OR OTHER                                            6/21/2021     Y                   1
 OUTPATIENT SERVICES


 Appointments & Verification
 Scheduled Date            Time                 Seen Date                     Cancel/Reschedule Reason
 6/21/2021                 12:40 PM             6/21/2021


 Clinical Notes
 CORIZONHEALTH\lmcnamee - Jun 3, 2021 11:22 AM
 Email sent to Jazymn Bess for scheduling at UMMS
 CORIZONHEALTH\mdubrawsky - Jun 3, 2021 9:13 AM
 Request for first post-op follow-up reviewed and approved via abbreviated review.
 No IQ required.
 Sent to site.




POLLARD, CHARLES - 1470566MR / authorization #00946945 as of Sep 28, 2021 7:43 AM CST / page 1 of 3     Pollard MR - 000648
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                                                                     Referral Form

 lmcnamee - Jun 3, 2021 6:54 AM
 Patient: CHARLES POLLARD ID#: 241320 DOB:

 Off-site Reference #:
 Date of Request: 06/02/2021 10:54 AM
 3rd Party Insurance: (VA, Workmen's Comp, Federal, Interstate Compact, etc.):
 Maryland DPSCS

 For security reasons, inmates must NOT be informed of date, time or location of proposed treatment or possible hospitalization.
 Authorization and payment is provided ONLY for requested procedures or treatments of life-threatening conditions. Prior
 review/discussion with Medical Director is required for additional treatment, procedures and hospitalizations.

 __________________________________________________________________________________________

 Procedure/Test Requested: POST OP visit

 Specialty Service Requested: Dr. Kavic

 Signs & Symptoms: Date of Onset:
 62 YO AAM with PMH of Lumbar hernia s/p repair in 2013, chronic low back pain, T2DM none insulin depended, HTN and
 dyslipidemia recently on 5/19/2021 had an open repair of lumbar hernia in UMMC by Dr. Kavic. His procedure was without
 complication and very smooth recovery. He surgical wound healing is uneventful. He need post OP follow up appointment with Dr.
 Kavic in 8-10 week

 Site Medical Provider: Hamid Kiabayan, MD 06/02/2021

 Copy this form and paste in an email and send form to designated reviewer

 ________________________________________________________________________________________

 (For UM use only)

 Criteria Source: M & R            Interqual         Other
 Criteria met: Yes      No             Deferred



 Reviewer comments:



 Recommendation for visit appointment:


 # Visits:
 ________________________________________________________________________________________

 UM Review #:
 Reviewer Name:
 Date Reviewed:


 Note: Notify physician or midlevel practitioner immediately if unable to obtain appointment within 4 weeks. If service is not completed
 within 4 weeks, have patient re-evaluated by physician or midlevel practitioner to determine if service is still necessary and
 appropriate.

 Hamid Kiabayan M.D.
 Internal Medicine
 hamid.kiabayan@corizonhealth.com
 Jessup Correctional Institution
 7800 House of Corrections Road
 Jessup, MD 20794


 Interqual Notes
 CORIZONHEALTH\mdubrawsky - Jun 3, 2021 9:13 AM
 No IQ required.


 Documents
 File                           Description                                   Uploaded By

POLLARD, CHARLES - 1470566MR / authorization #00946945 as of Sep 28, 2021 7:43 AM CST / page 2 of 3   Pollard MR - 000649
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                                                                     Referral Form

 Po;;ard,Charles 5.19.21
 UMMS General                   Charles Pollard                               CORIZONHEALTH\lmcnamee on Jun 3, 2021 6:55 AM
 Surgery.pdf


 Attributes
 Abbreviated Review                                                                                      YES




POLLARD, CHARLES - 1470566MR / authorization #00946945 as of Sep 28, 2021 7:43 AM CST / page 3 of 3   Pollard MR - 000650
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